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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                     :
KAPPA ALPHA THETA FRATERNITY,        :
INC.; KAPPA KAPPA GAMMA              :
FRATERNITY; SIGMA CHI; SIGMA         :
ALPHA EPSILON; SIGMA ALPHA           :
EPSILON—MASSACHUSETTS                :
GAMMA; JOHN DOE 1; JOHN DOE 2;       :
JOHN DOE 3,                          :             Civil Action No. 18-cv-12485
                                     :
                  Plaintiffs,        :
                                     :
                 v.                  :
                                     :
HARVARD UNIVERSITY; PRESIDENT :
AND FELLOWS OF HARVARD               :
COLLEGE (HARVARD CORPORATION), :
                                     :
                  Defendant.         :
____________________________________ :


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), all parties herein hereby stipulate to the dismissal

of this action, with prejudice and with each party waiving all rights of appeal and the right to

recover the award of costs or attorney’s fees from the court.
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Dated: October 20, 2020                  Respectfully submitted,


  /s/ R. Stanton Jones                    /s/ Roberto M. Braceras
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         Case 1:18-cv-12485-NMG Document 75 Filed 10/20/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on the date
of electronic filing.

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